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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

                     Plaintiff,

       v.                                               Civil Action No. 2:23-cv-00419-JRG

VALVE CORPORATION, GEARBOX                               JURY TRIAL DEMANDED
SOFTWARE, L.L.C.,

                     Defendants.


                    CORPORATE DISCLOSURE STATEMENT OF
                    DEFENDANT GEARBOX SOFTWARE, L.L.C.

       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Gearbox Software, L.L.C.

(“Gearbox”), through its undersigned counsel, states the following: The parent company of

Gearbox is The Gearbox Entertainment Company, Inc., and to Gearbox’s knowledge, no publicly

held corporation owns 10% or more of Gearbox’s stock.



 Dated: January 9, 2024                   Respectfully submitted,


                                          By: /s/ Michael J. Sacksteder
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                                         Attorneys for Gearbox Software, L.L.C.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served to all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system.


Dated: January 9, 2024                                 /s/ Michael J. Sacksteder
                                                       Michael J. Sacksteder




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